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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 NAUTILUS INSURANCE CORPORATION,

                                Plaintiff,
                                                             Case No. 22-cv-5997
                        v.
                                                             Judge Thomas M. Durkin
 COA, INC. dba COASTER COMPANY OF                            Magistrate Judge Beth W. Jantz
 AMERICA, et al.,

                                Defendants.


                   DECLARATION OF HURR KO IN SUPPORT OF
            DEFENDANT COA, INC. dba COASTER COMPANY OF AMERICA’S
             MOTION TO DISMISS, OR IN THE ALTERNATIVE, MOTION TO
            TRANSFER VENUE TO THE CENTRAL DISTRICT OF CALIFORNIA

       I,      HURR KO, declare:

       1.      I, Hurr Ko, am the Director of Legal & Taxation at Defendant COA, Inc., dba

Coaster Company of America (“Coaster”).

       2.      I have personal knowledge of the following facts stated in this declaration, and if

called as a witness I could, and would, competently testify thereto if called upon to do so.

       3.      I submit this declaration in support of Coaster’s Motion to Dismiss, or in the

Alternative, Motion to Transfer this Action to the Central District of California.
       4.      Coaster is a California corporation with its principal place of business at 12928

Sandoval St., Santa Fe Springs, California 90670. Attached hereto as Exhibit “A” is a true and

correct copy of the January 12, 2023 Statement of Information filed by Coaster with the California

Secretary of State.

       5.      Coaster is an importer and distributer of fine furniture.

       6.      Coaster maintains a website at www.coasterfurniture.com, which lists the types of

furniture Coaster imports. Coaster does not sell furniture directly through its website.

       7.      Coaster’s furniture is sold throughout the country, including in Illinois, through
independent furniture stores.

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